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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 IN RE:                                              )
                                                     )       Case No. 24-12624-KHT
 DNC AND TCPA LIST SANITIZER, LLC                    )
 EIN: XX-XXXXXXX                                     )       Chapter 11
                                                     )       Sub-Chapter V
          Debtor                                     )

   ORDER GRANTING MOTION TO RECONSIDER ORDER TO SHORTEN NOTICE
      PERIOD FOR MOTION: (A) EMPLOY WADSWORTH GARBER WARNER
       CONRARDY, P.C. AS BANKRUPTCY COUNSEL FOR THE DEBTOR-IN-
     POSSESSION AND (B) APPROVE RETAINER FOR WADSWORTH GARBER
   WARNER CONRARDY, P.C. AS COUNSEL FOR THE DEBTOR-IN-POSSESSION

        UPON CONSIDERATION of DNC and TCPA List Sanitizer, LLC (the “Debtor”)’s
 Motion to Reconsider Motion to Shorten Notice Period for Motion to (A) Employ Wadsworth
 Garber Warner Conrardy, PC (“WGWC”) as Counsel for the Debtor-in-Possession and (B)
 Approve Retainer for WGWC as Counsel for the Debtor-in-Possession (the “Motion”) in this case,
 and for good cause shown, the Court does hereby

          ORDER

          1. The Motion is GRANTED; and

          2. The Court’s order at Docket No. 218 is hereby vacated.

        3. The deadline for parties in interest to file and serve any objection or other responsive
 pleading to the Motion is October 15, 2024. Any objection or other responsive pleading filed after
 October 15, 2024 will not be considered by the Court, absent extraordinary circumstances.

                8 2024.
 Dated October ___,                                  BY THE COURT


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                                                             __ ____
                                                                __ ____________________
                                                                   __                 _________
                                                     Honorable
                                                     Honorable Kimberley  yH H. Tyson
                                                     United States Bankruptcy Judge
